            Case 2:20-cv-03823-PBT Document 1 Filed 08/06/20 Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EUGENE SCALIA,                      )
SECRETARY OF LABOR,                 )
UNITED STATES DEPARTMENT OF LABOR, )
                                    )
      Plaintiff,                    )
                                    )
      v.                            ) Civil Action No. 2:20-CV-3823
                                    )
RED LION HOME CARE, INC, SCOTT RACE )
and STUART RACE,                    )
                                    )
      Defendants.                   )
                                    )

                                         COMPLAINT

       Plaintiff, Eugene Scalia, Secretary of Labor, United States Department of Labor

(“Plaintiff”), brings this action to enjoin Red Lion Home Care, Inc., a company incorporated in

Pennsylvania, Scott Race and Stuart Race, individually and as owner, officer, and manager of the

aforementioned company, (collectively, “Defendants”), from violating the provisions of Sections

7, 11(c), 15(a)(2), and 15(a)(5) of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C.

§ 201, et seq. (“the Act”), and for a judgment against Defendants in the total amount of back

wage compensation found by the Court to be due to any of the employees of Defendants

pursuant to the Act and an equal amount due to the employees of Defendants in liquidated

damages.

       1.      Jurisdiction of this action is conferred upon the Court by Section 17 of the Act, 29

U.S.C. § 217, and by 28 U.S.C. §§ 1331 and 1345.

       2.      Defendant Red Lion Home Care, Inc., (“Red Lion”) is a corporation duly

organized under the laws of the Commonwealth of Pennsylvania. Red Lion’s address and

principal place of business is 300 Lancaster Avenue, Suite 104, Wynnewood, P.A. 19096, within
            Case 2:20-cv-03823-PBT Document 1 Filed 08/06/20 Page 2 of 6




the jurisdiction of this Court. Red Lion is engaged in a domestic homecare business operating out

of this same address, within the jurisdiction of this Court.

       3.        Defendant Scott Race is the co-owner and President of Red Lion. Scott Race

directed employment practices and has directly or indirectly acted in the interest of Red Lion in

relation to its employees at all relevant times herein, including hiring, firing, supervising, and

setting the conditions of employment for employees. Scott Race’s place of business is 300

Lancaster Avenue, Suite 104, Wynnewood, P.A. 19096, within the jurisdiction of this Court.

       4.        Defendant Stuart Race is the co-owner, Chief Executive Officer and Treasurer of

Red Lion. Stuart Race directed employment practices and has directly or indirectly acted in the

interest of Red Lion in relation to its employees at all relevant times herein, including hiring,

firing, supervising, and setting the conditions of employment for employees. Stuart Race’s place

of business is 300 Lancaster Avenue, Suite 104, Wynnewood, P.A. 19096, within the jurisdiction

of this Court.

       5.        The business activities of Defendants, as described herein, are and were related

and performed through unified operation or common control for a common business purpose of

providing in-home care to Red Lion’s clients and constitute an enterprise within the meaning of

Section 3(r) of the Act.

       6.        Defendants employ persons in domestic service for profit, which affects

commerce per Section 2(a)(5) of the Act. Defendants’ employees provide in-home care services

to Red Lion’s clients.

       7.        The enterprise has had an annual gross volume of sales made or business done in

an amount not less than $500,000.00. Therefore, the employees of Defendants are employed in

an enterprise engaged in commerce within the meaning of Section 3(s)(1)(A) of the Act.




                                                  2
             Case 2:20-cv-03823-PBT Document 1 Filed 08/06/20 Page 3 of 6




        8.      Defendants willfully violated the provisions of Sections 7 and 15(a)(2) of the Act

by employing their employees in an enterprise engaged in commerce or handling goods or

materials that have been moved in or produced for commerce for workweeks longer that those

prescribed in Section 7 of the Act without compensating said employees for employment in

excess of the prescribed hours at rates not less than one and one-half times their regular rates.

Therefore, Defendants are liable for the payment of unpaid overtime compensation and an equal

amount of liquidated damages under Section 16(c) of the Act.

        9.      For example, during the time period from at least September 24, 2016, through at

least July 27, 2019, Defendants failed to compensate employees who worked over 40 hours in a

workweek at rates not less than one and one-half times their regular rates. During this time

period, these employees worked at least one hour in excess of forty per workweek.

        10.     Defendants unlawfully manipulated the regular rate they paid their employees for

non-overtime hours in order to ensure that these employees received, on average, the same

hourly rate for all hours worked, regardless of whether the employee worked overtime.       In

workweeks in which employees worked in excess of forty hours per workweek, Defendants

lowered employees’ regular hourly rates, which caused these employees’ overtime premium

rates to fall. The new lowered rates were calculated in an attempt to make the total pay (regular

straight time plus overtime pay) approximately equivalent to all hours worked paid at straight

time at the original regular rates.

        11.     Defendants knew or recklessly disregarded their obligation to pay their employees

one and one-half their regular rates for hours worked in excess of forty per workweek.

Defendants informed their employees that they did not pay an overtime premium. Defendants’




                                                  3
            Case 2:20-cv-03823-PBT Document 1 Filed 08/06/20 Page 4 of 6




practice of manipulating the regular rate in overtime workweeks showed that they understood the

requirement to pay time-and-a-half for overtime hours and that they were making an intentional

effort to evade that requirement.

       12.     Prior to engaging in this practice of manipulating rates to avoid paying an

overtime premium, Defendants paid their employees one and one half their regular rates when

they worked more than 40 hours per workweek without artificially adjusting the regular rate.

However, since at least September 24, 2016, Defendants began adjusting the regular rates in

overtime workweeks. This also shows Defendants understood their obligation to pay overtime

and were intentionally manipulating rates in order to avoid paying the required overtime

premium.

       13.     Defendants violated the provisions of Sections 11(c) and 15(a)(5) of the Act in

that Defendants failed to make, keep, and preserve adequate and accurate records of their

employees, which they maintained as prescribed by the regulations issued and found at 29 C.F.R.

Part 516.

       14.     For example, due to their practices of lowering employees’ regular rates in

overtime workweeks and paying employees straight time for overtime, Defendants failed to keep

and preserve payroll records for employees for at least three years, including accurate records of

employees’ regular hourly rates of pay, daily and weekly hours worked, total weekly straight-

time earnings, and total weekly overtime premium pay. 29 C.F.R. §§ 516.2(a), 516.5(a).

       15.     Defendants also failed to maintain payroll records for certain employees in certain

workweeks. Defendants were in possession of some employee payroll records but not the

corresponding time records.




                                                4
             Case 2:20-cv-03823-PBT Document 1 Filed 08/06/20 Page 5 of 6




       WHEREFORE, cause having been shown, the Secretary prays for judgment against

Defendants providing the following relief:

       (1)      For an injunction issued pursuant to Section 17 of the Act permanently enjoining

and restraining Defendants, their officers, agents, servants, employees, and those persons in

active concert or participation with Defendants who receive actual notice of any such judgment,

from violating the provisions of Sections 7, 11(c), 15(a)(2) and 15(a)(5) of the Act; and

       (2)      For judgment pursuant to Section 16(c) of the Act finding Defendants liable for

unpaid overtime compensation due to certain of Defendants’ current and former employees listed

in the attached Schedule A for the period from at least September 24, 2016, through at least July

27, 2019, and for an equal amount due to certain of Defendants’ current and former employees in

liquidated damages. Additional amounts of back wages and liquidated damages may also be

owed to certain current and former employees of Defendants listed in the attached Schedule A

for violations continuing after July 27, 2019, and may be owed to certain current and former

employees presently unknown to the Secretary for the period covered by this Complaint, who

may be identified during this litigation and added to Schedule A; or

       (3)      In the event liquidated damages are not awarded, for an injunction issued pursuant

to Section 17 of the Act restraining Defendants, their officers, agents, employees, and those

persons in active concert or participation with defendants, from withholding the amount of

unpaid minimum wages and overtime compensation found due defendants’ employees and

prejudgment interest computed at the underpayment rate established by the Secretary of the

Treasury pursuant to 26 U.S.C. § 6621.




                                                 5
          Case 2:20-cv-03823-PBT Document 1 Filed 08/06/20 Page 6 of 6




       FURTHER, Plaintiff prays that this Honorable Court award costs in his favor, and an

order granting such other and further relief as may be necessary and appropriate.

                                             Respectfully submitted,


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